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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10
       CLINTON BROWN,                    ) NO. CV 22-9203 MEMF (KS)
11                 Plaintiff,            )
12           v.                          )
                                         ) INITIAL ORDER IN CIVIL
13                                       ) RIGHTS CASES
       CLARK R. TAYLOR, AICP, The Los )
14     Angeles County Department of      )
15     Regional Planning,                )
16                        Defendant.     )
                                         )
       _________________________________
17
18
19        This case has been referred to Magistrate Judge Karen L. Stevenson for pre-trial
20    proceedings. All future pleadings and correspondence shall be addressed to Gay Roberson,
21    Clerk to Magistrate Judge Stevenson, Roybal Federal Courthouse, 255 E. Temple St., Los
22    Angeles, CA 90012.
23
24     1. Service of Summons and Complaint
25        Plaintiff shall promptly proceed with service of the summons and complaint on all named
26        defendants. Service of the summons and complaint must comply with the provisions of
27        Rule 4 of the Federal Rules of Civil Procedure. Plaintiff shall file one copy of the
28        proof of service showing compliance with this order within 90 days of filing the

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 1        complaint. Non-compliance with this paragraph may result in a recommendation of
 2        dismissal.
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 4     2. Pro Se Clinic
 5        Plaintiff is advised that there is a Federal Pro Se Clinic available for assistance. The
 6        Clinic offers information and guidance to individuals who are representing themselves in
 7        federal civil actions.    The Clinic is administered by a non-profit law firm, Public
 8        Counsel,      not    by   the     Court.       More     information     is   available    at:
 9        http://prose.cacd.uscourts.gov.    Please note that Pro Se Clinic consultations are by
10        appointment only.
11
12     3. Requirements for Submitting Pleadings to the Court
13        a.   All documents concerning this case are to be submitted for filing either by direct
14             filing at the filing window or by mail, addressed to the Clerk at the address indicated
15             above.     Alternatively, documents may be filed electronically using the Court’s
16             CM/ECF System. However, pro se litigants must first seek leave of Court to use
17             the CM/ECF System to file documents electronically in compliance with Local
18             Rule 5-4.1.1.
19
20        b. Pursuant to Local Rule 83-2.11 of the Local Rules of this Court, the parties must
21             refrain from communicating with the judge by letter or telephone call. All inquiries,
22             requests or other matters to be called to the judge’s attention regarding this case must
23             be submitted for filing as motions, application or other appropriate pleadings and a
24             copy must be served on all other parties in the case.
25
26        c.   At the top of the first page of any document submitted for filing, Plaintiff shall
27             provide his/her name and mailing address. The address provided will be presumed
28             correct and will be used to communicate with Plaintiff. During the pendency of the

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 1              action, Plaintiff must notify the Court immediately if his/her address changes and
 2              must provide the Court with the new address and its effective date. Any failure by
 3              Plaintiff to comply with a court order because Plaintiff did not receive the order due
 4              to his/her failure to inform the Court of his/her current address may result in the
 5              action being dismissed for failure to prosecute. See Carey v. King, 856 F.2d 1439,
 6              1440-41 (9th Cir. 1988); Local Rule 41-6.
 7
 8         d. Only one side of each page shall be used. Each document shall have at least a 1 inch
 9              margin at the top of each page so that the document can be 2-hole punched and
10              properly bound in the Court file.
11
12         e.   Plaintiff shall submit one original (or, if Plaintiff wishes to receive a conformed
13              copy, one original and one copy) of all documents filed with the Court. The Clerk
14              will not make photocopies of documents. Plaintiff is reminded that he/she must sign
15              the original document. See Fed. R. Civ. P. 11(a); Local Rule 11-1.
16
17         f.   Once a Defendant has been served with process or has entered an appearance in the
18              case, Rule 5 of the Federal Rules of Civil Procedure requires that Plaintiff must serve
19              each Defendant’s attorney (or the Defendant him or herself, if not represented by
20              counsel), with a copy of every pleading or other document submitted for the Court’s
21              consideration. Each document submitted after any Defendant has entered an
22              appearance in the case or has been served with process must be accompanied by a
23              proof of service upon each such Defendant in accordance with Rule 5 of the Federal
24              Rules of Civil Procedure, and Local Rule 5-3 of this Court. Strict compliance with
25              Rule 5 and Local Rule 5-3 will be required, and any documents which fail to contain
26              the required proof of service will be disregarded.
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 1        g. Any document submitted that does not comply with the foregoing may be returned to
 2            Plaintiff without filing or stricken and denied consideration by the court.
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 4          IT IS SO ORDERED.
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 6     DATED: February 21, 2023                           __________________________________
 7                                                               KAREN L. STEVENSON
                                                         UNITED STATES MAGISTRATE JUDGE
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